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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES − GENERAL

Case No.     2:19−cv−08591−JAK−RAO                 Date              7/30/2020
Title        ANN SHEN V. SHEIN FASHION GROUP, INC.

Present    The Honorable JOHN A. KRONSTADT, UNITED STATES DISTRICT
           JUDGE

               Cheryl Wynn                               Not Reported
               Deputy Clerk                        Court Reporter / Recorder


     Attorneys Present for Plaintiffs:         Attorneys Present for Defendants:
               Not Present                                Not Present


Proceedings:        (IN CHAMBERS) ORDER DISMISSING CASE WITHOUT
                    PREJUDICE (JS-6)

In light of the parties’ Notice of Settlement, the Court orders that this action is
dismissed without prejudice. The Court retains jurisdiction to vacate this Order and
to reopen the action within 30 days from the date of this Order, provided, however,
any request by any party(ies) that the Court do so, shall make a showing of good
cause as to why the settlement has not been completed within the 30-day period,
what further settlement processes are necessary, and when the party(ies) making
such a request reasonably expect the process to be concluded. This Order does
not preclude the filing of a stipulation of dismissal with prejudice pursuant to Fed.
R. Civ. P. 41, which does not require the approval of the Court. Such stipulation
shall be filed within the aforementioned 30-day period, or by such later date
ordered by the Court pursuant to a stipulation by the parties that conforms the
requirements of a showing of good cause stated above.


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                                                           Initials of Preparer: cw




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